✎ PS 8   Case 2:15-cr-00144-SMJ           ECF No. 443       filed 06/27/16      PageID.1519 Page 1 of 1
(3/15)


                              UNITED STATES DISTRICT COURT
                                                           for
                                           Eastern District of Washington


U.S.A. vs.                  Gourneau, Nichole M                        Docket No.            2:15CR00144-SMJ-15


                                Petition for Action on Conditions of Pretrial Release

        COMES NOW Erik Carlson, PRETRIAL SERVICES OFFICER, presenting an official report upon the conduct
of defendant Nichole M Gourneau, who was placed under pretrial release supervision by the Honorable U.S. Magistrate
Judge, John T. Rodgers, sitting in the Court at Spokane, Washington, on the 13th day of January 2016,under the
following conditions:

Standard Condition #9: Defendant shall refrain from the use or unlawful possession of a narcotic drug or other controlled
substances in 21 U.S.C. § 802, unless prescribed by a licensed medical practitioner in conformance with Federal law.
Defendant may not use or possess marijuana, regardless of whether Defendant has been authorized medical marijuana under
state law.

         RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:


Violation #1: The defendant tested positive for the presence of methamphetamine in April 2016.

                  PRAYING THAT THE COURT WILL ORDER NO ACTION AT THIS TIME
                                                                         I declare under the penalty of perjury
                                                                         that the foregoing is true and correct.
                                                                         Executed on:       June 27, 2016
                                                                 by      s/Erik Carlson
                                                                         Erik Carlson
                                                                         U.S. Pretrial Services Officer

THE COURT ORDERS
[ X] No Action
[ ]  The Issuance of a Warrant
[ ]  The Issuance of a Summons
[ ]  The incorporation of the violation(s) contained in this
      petition with the other violations pending before the
      Court.
[ ]  Defendant to appear before the Judge assigned to the case.
[ ]  Defendant to appear before the Magistrate Judge.
[ ]  Other
                                                                           Signature of Judicial Officer
                                                                              June 27, 2016
                                                                           Date
